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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


In re: ALEXANDER E. JONES,                              Case No. 22-33553 (CML)

         Debtor,                                        Chapter 7

Alexander E. Jones, as debtor and as alleged
owner and sole Manager of Free Speech
Systems, LLC
                                                        Case No. 23-03238 (CML)
                      Plaintiffs,
                                                        Adversary Proceeding
vs.

Christopher Murray, as the Chapter 7
Trustee, Global Tetrahedron, LLC, Mark
Barden, Jacquiline Barden, Francine
Wheeler, David Wheeler, Ian Hockley
Nicole Hockley, Jennifer Hensel, William
Aldenberg, William Sherlach, Carlos M.
Soto, Donna Soto, Jullian Soto-Marino,
Carlee Soto Farisi, Robert Parker, and Erica
Ash,

                      Defendants.



            GLOBAL TETRAHEDRON, LLC’S WITNESS AND EXHIBIT LIST

 Judge                    Hon. Christopher M. Lopez
 Hearing Date             Monday, December 9, 2024
 Hearing Time             1:00 p.m. (CT)
 Party’s Name             Global Tetrahedron, LLC
 Attorney’s Names         Gregg Costa, Jason Goldstein (Global Tetrahedron, LLC)
 Attorney’s Phone         212-351-5307 (Jason Goldstein)
 Nature of Proceeding     Trustee’s Expedited Motion for Entry of an Order in Furtherance of
                          the Sale of Assets of Free Speech Systems, LLC [22-33553, Dkt. 915]




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       Global Tetrahedron, LLC (“Global Tetrahedron”) hereby submits this Witness and Exhibit

List in connection with the hearing on the Trustee’s Expedited Motion for Entry of an Order in

Furtherance of the Sale of Assets of Free Speech Systems, LLC [22-33553, Dkt. 915], to be held

on Monday, December 9, 2024, at 1:00 p.m. (Central Time).

       Global Tetrahedron reserves the right to supplement, amend, or revise this Witness and

Exhibit List at any time prior to the hearing. Global Tetrahedron reserves the right to supplement

the Witness and Exhibit List with new witnesses and additional exhibits.           Further, Global

Tetrahedron reserves the right to use any exhibits presented by any other party and to ask the Court

to take judicial notice of any document. Global Tetrahedron further reserves the right to introduce

exhibits previously admitted.

                                           WITNESS LIST

                  Global Tetrahedron may call the following witnesses at the hearing:

   1. Any witness necessary to rebut the testimony of any witness called or designated by any
      other parties;

   2. Any witness listed or called by any other party.

                                            EXHIBIT LIST

       Global Tetrahedron may offer for admission into evidence any of the following exhibits

at the hearing:

                                             EXHIBITS

 No.               Description             Offered    Objection     Admitted / Not Disposition
                                                                      Admitted
        Any document or pleading
        filed in the above-captioned
        cases or in In re: Free Speech
        Systems LLC, Case No. 22-
        60043 (CML)
        Any exhibits identified or
        offered by any other party


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 No.           Description           Offered   Objection    Admitted / Not Disposition
                                                              Admitted
       Any exhibits necessary for
       impeachment and/or rebuttal
       purposes


       Dated: December 5, 2024                 Respectfully submitted,


                                               /s/ Gregg Costa
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                                               Gregg Costa
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                                               Jason Z. Goldstein (pro hac vice pending)
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                                               Counsel to Global Tetrahedron, LLC




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                                  CERTIFICATE OF SERVICE

       I certify that, on December 5, 2024, a true and correct copy of the foregoing document

was served by ECF on all counsel of record.



                                              /s/ Gregg Costa
                                              Gregg Costa




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